Case 1:21-cv-22441-RNS Document 8-1 Entered on FLSD Docket 07/09/2021 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                      CASE NO.: 1:21-CV-22441-SCOLA, JR./GOODMAN


 DONALD J. TRUMP, the Forty- Fifth
 President of the United States,
 INDIVIDUALLY AND ON BEHALF OF A
 CLASS OF PERSONS SIMILARLY
 SITUATED,

        Plaintiff and the Class,

 vs.

 TWITTER, INC., and JACK DORSEY,

        Defendants.
                                   /

                            CERTIFICATION OF JOHN Q. KELLY

        John Q. Kelly Esquire, pursuant to Rule 4(b) of the Rule Governing the Admission,

 Practice, Peer Review, and Discipline of Attorneys, hereby certifies that (1) I have studied the

 Local Rule of the United States District Court for the Southern District of Florida; and (2) I am a

 member in good standing of District of Columbia Court of Appeals, the District of Columbia and

 (3) I have not filed three of more motions for pro hac vice admission in this District within the last

 365 days.



                                                       /s/ John Q. Kelly, Esq.
                                                        John Q. Kelly
